Case 3:24-cv-04716-JD            Document 48-2             Filed 07/09/25          Page 1 of 4




                              EXHIBIT B


EMAIL FROM ERNEST GALVAN TO JOHN SALCEDO




        Estate of Jesus Eric Magana v. Alameda County, et al. Case No. 3:24-cv-04716 JD
                   Case 3:24-cv-04716-JD                    Document 48-2              Filed 07/09/25          Page 2 of 4

                                                                                                      Yolanda Huang <yhuang.law@gmail.com>



Magana SDT to Babu Counsel [IMAN-DMS.FID35370]
Ernest Galvan <EGalvan@rbgg.com>                                                                                        Fri, Apr 25, 2025 at 1:22 PM
To: Yolanda Huang <yhuang.law@gmail.com>


 Got a call from your opp counsel. I told him he needs to work out with you an arrangement so that you get the material you SDT’d from me
 under a protective order. See my follow up email pointing him to the case law that makes this a foregone conclusion, either with a bunch of
 litigation to get an order like the one attached, or the short way around, i.e., he makes an agreement with you.



 Ernest Galvan
 ROSEN BIEN GALVAN & GRUNFELD LLP
 101 Mission Street, 6th Floor
 San Francisco, CA 94105
 (415) 433-6830 (telephone)
 (415) 296-2293 (direct)
 (415) 694-3606 (mobile)
 (415) 433-7104 (fax)
 egalvan@rbgg.com


 CONFIDENTIALITY NOTICE
 The information contained in this e-mail message may be privileged, confidential and protected from disclosure. If you are not the
 intended recipient, any dissemination, distribution or copying is strictly prohibited. If you think that you have received this e-mail message
 in error, please e-mail the sender at rbg@rbgg.com




 From: Ernest Galvan
 Sent: Friday, April 25, 2025 1:21 PM
 To: John K. Salcedo <jsalcedo@bfesf.com>
 Subject: RE: Magana SDT to Babu Counsel [IMAN-DMS.FID35370]


 I didn’t cite it in the response—but here’s a description of what happened, and why I think the short way around is for you and plaintiff’s
 counsel to work out production under a protective order.



 In a 2021 order, the Hernandez court addressed the ability of survivors of a

 deceased class member to access to documents from the Hernandez case in the Order

 Granting Motion For Permissive Intervention And Clarification Or Modification Of

 Protective Order; And Vacating Hearing Set For December 2, 2021, (Hernandez, Case

 5:13-cv-02354-BLF, ECF No. 700) ((hereinafter “Lara/Hernandez Intervention Order”)

 Responding Party has reviewed the Lara/Hernandez Intervention Order for guidance in

 responding to this subpoena. The Lara/Hernandez Intervention Order states several

 principles that apply here. First, the Ninth Circuit strongly favors access to information

 across cases to “advance the interests of judicial economy by avoiding wasteful duplication

 of discovery.” Lara/Hernandez Intervention Order at 5. Second, where documents from

 Hernandez pertaining to a deceased class member are relevant and discoverable, they

 should be produced to the survivors’ counsel. Id. at 6.



 Ernest Galvan
 ROSEN BIEN GALVAN & GRUNFELD LLP
                  Case 3:24-cv-04716-JD                 Document 48-2              Filed 07/09/25           Page 3 of 4
                      th
101 Mission Street, 6 Floor
San Francisco, CA 94105
(415) 433-6830 (telephone)
(415) 296-2293 (direct)
(415) 694-3606 (mobile)
(415) 433-7104 (fax)
egalvan@rbgg.com


CONFIDENTIALITY NOTICE
The information contained in this e-mail message may be privileged, confidential and protected from disclosure. If you are not the
intended recipient, any dissemination, distribution or copying is strictly prohibited. If you think that you have received this e-mail message
in error, please e-mail the sender at rbg@rbgg.com



From: John K. Salcedo <jsalcedo@bfesf.com>
Sent: Wednesday, April 23, 2025 6:25 PM
To: Ernest Galvan <EGalvan@rbgg.com>
Subject: RE: Magana SDT to Babu Counsel [IMAN-DMS.FID35370]



[EXTERNAL MESSAGE NOTICE]


Hello Ernest,


Please let me know if you have a few minutes to discuss the subpoena in the Magana case tomorrow. You can reach me at
415-747-6276. Thank you.


Sincerely,




                           John K. Salcedo
                           Associate

                           Bertrand Fox Elliot Osman + Wenzel

                           The Waterfront Building

                           2749 Hyde Street

                           San Francisco, CA 94109

                           Phone: 415-353-0999 x109

                           Dir:     415-747-6276




From: Ernest Galvan <EGalvan@rbgg.com>
Sent: Tuesday, February 25, 2025 1:27 PM
To: John K. Salcedo <jsalcedo@bfesf.com>
Subject: FW: Magana SDT to Babu Counsel [IMAN-DMS.FID35370]
                       Case 3:24-cv-04716-JD            Document 48-2              Filed 07/09/25           Page 4 of 4

Ernest Galvan
ROSEN BIEN GALVAN & GRUNFELD LLP
101 Mission Street, 6th Floor
San Francisco, CA 94105
(415) 433-6830 (telephone)
(415) 296-2293 (direct)
(415) 694-3606 (mobile)
(415) 433-7104 (fax)
egalvan@rbgg.com


CONFIDENTIALITY NOTICE
The information contained in this e-mail message may be privileged, confidential and protected from disclosure. If you are not the
intended recipient, any dissemination, distribution or copying is strictly prohibited. If you think that you have received this e-mail message
in error, please e-mail the sender at rbg@rbgg.com



From: Ernest Galvan
Sent: Thursday, February 13, 2025 1:45 PM
To: Yolanda Huang <yhuang.law@gmail.com>
[Quoted text hidden]

[Quoted text hidden]


      [Dkt 0700] ORDER Granting LARA Mtn for Permissive Intervention, Clarification or Modification of PO, Vacating Hearing for
      12-02-21, 1187-8.pdf
      202K
